                   Case 1:25-cv-00596-ELH                  Document 32        Filed 03/12/25        Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Maryland


                        AFSCME et al.                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 1:25-cv-00596
                                                                    )
           Social Security Administration et al.                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PAM BONDI, in her official capacity as United States Attorney General
                                           Department of Justice
                                           950 Pennsylvania Avenue, NW,
                                           Washington, D.C. 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Alethea Anne Swift
                                           Democracy Forward Foundation
                                           P.O. Box 34553
                                           Washington, D.C. 20043


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
